
27 N.Y.2d 809 (1970)
In the Matter of The Estate of Sam Fishman, Also Known as Sam Fischman, Deceased. Lewis D. Fischman, as Executor of Sam Fishman, Deceased, Appellant; Lillian Fishman, Respondent.
Court of Appeals of the State of New York.
Argued September 24, 1970.
Decided October 14, 1970.
Gabriel Kaszovitz for appellant.
Harry Heller for respondent.
Concur: Chief Judge FULD and Judges BURKE, SCILEPPI, BERGAN, BREITEL, JASEN and GIBSON.
Order affirmed, with costs to respondent payable out of estate; no opinion.
